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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF COLORADO




IN RE MATTER OF
CERTAIN PENDING ADMINISTRATIVE                            Case No.
FORFEITURE PROCEEDINGS


                     MOTION FOR BLANKET EXTENSION
                OF DEADLINE FOR SENDING NOTICE IN CERTAIN
             PENDING ADMINISTRATIVE FORFEITURE PROCEEDINGS

       The United States of America, pursuant to 18 U.S.C. § 983, moves this Court for

an extension of time for all federal seizing agencies in this district to commence

administrative forfeiture proceedings, due to the current national health emergency, as

declared by the president on March 13, 2020. In support of its motion, the Government

submits the following memorandum of law.

                                 MEMORANDUM OF LAW

I.     Background

       Numerous federal law enforcement agencies with the Department of Justice and

Department of Treasury 1 are authorized to seize property subject to forfeiture under

federal law, and commence administrative forfeiture proceedings, subject to certain


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  The Department of Justice agencies so authorized are the Bureau of Alcohol, Tobacco,
Firearms and Explosives, the Drug Enforcement Administration, and the Federal Bureau of
Investigation. A number of federal agencies with administrative enforcement authority
participate in the Department of Treasury asset forfeiture fund. These include the Internal
Revenue Service (IRS) within the Treasury Department, and United States Secret Service
(USSS) and Customs and Border Protection (CBP) within the Department of Homeland Security
(DHS). In addition, the United States Postal Inspection Service (USPIS) is authorized by law to
commence administrative forfeiture proceedings pursuant to 18 U.S.C. § 3061. USPIS
participates in the Department of Justice asset forfeiture fund.
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statutory limitations. 2 With limited exceptions, most aspects of federal administrative

and judicial forfeiture actions are governed by the provisions of 18 U.S.C. § 983.

These provisions include a statutory deadline for commencing an administrative

forfeiture proceeding—60-days for federal seizures and 90-days for adopted seizures

(those initially made by a state or local law enforcement agency). 18 U.S.C. §

983(a)(1)(A)(i), (iv). The procedures for extending that deadline and the deadlines for

subsequent steps in the administrative and judicial forfeiture proceedings are set forth in

18 U.S.C. § 983(a)(1).

       Each year, the Bureau of Alcohol, Tobacco, Firearms and Explosives, the Drug

Enforcement Administration, and the Federal Bureau of Investigation alone commence

approximately 27,500 to 31,700 administrative forfeitures. The non-DOJ agencies also

commence a significant number of administrative forfeitures. CBP alone commenced

over 22,000 Civil Asset Forfeiture Reform Act (CAFRA) forfeitures in FY 2019.

       An administrative forfeiture is commenced when the federal seizing agency

sends notice of the forfeiture proceeding to potential claimants. The standard method is

to send notice by certified mail, return receipt requested, or by commercial delivery with

confirmation of receipt. Some agencies also send notice by first class mail. The

agencies use certified mail or commercial delivery for two reasons: (1) to increase the

likelihood that the intended recipient, in fact, receives timely notice, and (2) to provide

the seizing agency with confirmation of delivery.

        Administrative forfeitures generate massive amounts of paperwork, and require

the regular, close physical interaction among office personnel in each agency’s


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  CBP also processes administrative forfeiture proceedings for seizures by Homeland Security
Investigations (HSI), another DHS agency.
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headquarters office to prepare documents related to commencing forfeiture

proceedings, including notice letters and correction letters prepare for the mailing of all

envelopes for those letters, receive any mailings, and prepare notice by publication for

each forfeiture on the government’s dedicated forfeiture website (www.forfeiture.gov).

       If timely notice is not sent within the timeframe prescribed by 18 U.S.C. § 983,

the federal agency is prohibited from commencing administrative forfeiture against the

seized asset. When a claim contesting that administrative forfeiture is received by the

federal agency, the federal agency notifies the U.S. Attorney’s Office of the claim, who

must commence court action within 90 days of receipt of the claim by the federal

agency. 18 U.S.C. § 983(a)(3)(A). These statutory deadlines ensure, that absent

court-approved extensions, third parties get timely notice and the opportunity to contest

the seizure and forfeiture of their property.

       On March 13, 2020, President Trump declared a national emergency, effective

as of March 1, 2020, due to the Novel Coronavirus Disease (COVID-19) pandemic. The

Center for Disease Control and Prevention have also advised taking measures to slow

the spread of the disease and precautions to reduce the possibility of exposure to the

virus. In addition, the Governor of the State of Colorado has also declared a state of

emergency in response to the spread of COVID-19 and has issued a state-wide “Stay at

Home” order through April 26, 2020. Likewise, the Mayor of Washington D.C. has

issued a “Stay at Home” order through May 15, 2020.

       To allow federal employees to engage in social distancing to slow the spread of

the virus, on March 15, 2020, the Attorney General implemented a “maximum telework”

policy, which includes all DOJ law enforcement components. As a result, virtually all

asset forfeiture personnel working in the headquarters facilities of the federal seizing

agencies in the Washington, DC area are teleworking. As the COVID-19 disease
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continues to spread, it is becoming increasingly difficult, and soon may be nearly

impossible, for the seizing agencies to comply with the guidance promulgated by the

Centers for Disease Control and Prevention and other public health authorities to

reduce the spread of the virus and comply with the statutory deadline requirements for

providing notice to potential claimants and petitioners.

       The requested order is consistent with the Judicial Conference’s March 29th

findings as well as this Court’s General Order 2020-3, both of which recognize that

unusual measures are appropriate to balance the need to protect the public, the court,

and litigants from COVID-19 while still allowing the judicial process to proceed. The

Government notes that “the Judicial Conference, the administrative policy-making body

for the federal courts, found on March 29, pursuant to the Coronavirus Aid, Relief, and

Economic Security Act (CARES Act), that ‘emergency conditions due to the national

emergency declared by the President with respect to COVID-19 will materially affect the

functioning of the federal courts generally …’”.
https://www.uscourts.gov/news/2020/03/31/judiciary-authorizes-videoaudio-access-

during-covid-19-pandemic. In response to the epidemic, federal courts at all levels

have adopted temporary procedures designed to safeguard court staff, litigants, and the

public from exposure to COVID-19. These procedures recognize that the use of the

mail and paper submissions is problematic within the context of the risks posed by the

pandemic and the measures needed to mitigate those risks. Indeed, on March 27,

2020, in Court Operations Under the Exigent Circumstances Created By COVID-19,

District Court General Order No. 2020-3, recognizing the threat to public health and

safety from the virus, this Court issued a Standing Order authorizing acceptance of

filings from unrepresented parties, via email, and closed the Clerk’s Office and

Probation Offices to public entry. Further, several federal districts have recognized the

need for such relief, and have entered orders similar to the one requested herein,

including the Southern District of New York and Central District of California. See
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Attachment A (Order Extending Certain Statutory Deadlines For Administrative and Civil

Judicial Forfeiture Proceedings and Actions, Southern District of New York); Attachment

B (Order Extending Certain Statutory Deadlines For Administrative and Civil Judicial

Forfeiture Proceedings and Actions Central District of California, Western Division).


       II.     Legal Authority

       Pursuant to 18 U.S.C. § 983(a)(1)(B), a “supervisory official in the headquarters

office of each seizing agency may extend the period for sending notice” of an

administrative forfeiture action to interested parties under certain conditions for a period

not to exceed 30 days. The supervisory official may extend the 30-day period “only if

there is reason to believe that sending notice may have an adverse result,” including:

endangering the life or physical safety of an individual. 18 U.S.C. §§ 983(a)(1)(D).

       After the initial 30-day extension from the supervisory official at agency

headquarters, upon motion by the Government, “a court may extend the period for

sending notice for a period not to exceed 60 days, which period may further extended

by the court for 60-day periods, as necessary,” based on the presence of any of these

same conditions described in 18 U.S.C. §§ 983(a)(1)(D). 3

       Section 983(a)(1)(D) extensions are entered routinely by supervisory officials or

by district courts, as appropriate, on a case-by-case basis. If, however, notice is not

timely sent and no extensions are granted by the agency supervisory official or a court,

the federal agency may not commence administrative forfeiture proceedings against


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  This Court has jurisdiction and venue over the civil forfeiture of assets seized in the District of
Colorado. Pursuant to 28 U.S.C. § 1355, a civil forfeiture action may be brought in the district in
which any of the acts or omissions giving rise to the forfeiture occurred, or any district for which
venue is provided in section 1395. Section 1395, in turn, provides that venue exists in any
district in which the property is found or brought. 28 U.S.C. § 1395(b)-(c).
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assets seized by law enforcement agents.

       In light of the current pandemic due to the coronavirus, it is reasonable to believe

that the continued regular operation of the seizing federal agencies’ administrative

forfeiture programs may endanger the lives or physical safety of numerous individuals.

At the same time, it is impossible for the Government to identify every seized asset for

which notice must be sent due to stay at home orders and the requirement for

teleworking. Therefore, although it is unusual, a 60-day blanket extension of all

noticing deadlines for assets seized by a DOJ seizing agency is appropriate for assets

seized within the last 60 days for federal seizures, and 90 days for state and local

seizures that have been adopted for administrative forfeiture by a federal agency.

       Given the sensitivity of the issue, the Government is waiving its right to have the

supervisory officials at the headquarter offices of the DOJ seizing agencies extend the

filing deadline by 30 days under section 983(a)(1)(B). Instead, and as reflected in the

attached declarations of those officials, the Government is requesting that the Court

issue a 60-day blanket extension of all noticing deadlines for assets (1) seized by a

federal seizing agency between February 20, 2020 and April 20, 2020; (2) adopted by a

federal seizing agency but seized by a state or local agency between January 20, 2020

and April 20, 2020; or (3) for which, due to a prior extension by the supervisory official at

the agency, a notice of administrative forfeiture is to be mailed on or after April 20,

2020, based upon a determination that there is reason to believe that requiring notices

of administrative forfeitures may endanger the life or physical safety of an individual.

See Attachment C. Specifically, requiring the notices may endanger the life or health

of the asset forfeiture staff necessary to review and prepare cases and issue the notices
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in light of the global coronavirus pandemic.

III.   Conclusion

       For the foregoing reasons, the Government respectfully requests this Court to

find that continued operation of the administrative forfeiture programs of the federal

seizing agencies may endanger the life or safety of one or more individuals in light of

the current national health emergency, and grant the requested 60-day extension of

noticing deadlines, for the following seizures of property:

       (1) for all federal seizures of property that occurred in the District of Colorado

between February 20, 2020, and April 20, 2020;

       (2) for all seizures of property by state and local law enforcement agencies that

occurred in the District of Colorado between January 20, 2020, and April 20, 2020,

which seizures were or are thereafter adopted by one of the Agencies; and

       (3) for any seizures of property as to which an Agency executed a 30-day

extension of any administrative notice deadline pursuant to 18 U.S.C. § 983(a)(1)(B)

and for which the extended deadline is on or after April 20, 2020.

                                            Respectfully Submitted,

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